                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff                )
                                              )
v.                                            )         No. 3:10-CR-84-006
                                              )         (PHILLIPS/SHIRLEY)
AARON BLAKE KEISLER,                          )
                                              )
                                              )
                     Defendant                )



                    ORDER OF DETENTION PENDING TRIAL

              The above-named defendant appeared in custody before the undersigned on

June 25, 2010, for an initial appearance and arraignment on an indictment.     Assistant

United States Attorney Cynthia F. Davidson was present for the government and CJA

Attorney David H. Dupree appeared on behalf of the defendant.

              The defendant is currently serving a term of imprisonment on state charges

and was brought before this Court on a writ. Counsel for the defendant advised the Court

that the defendant would waive a detention hearing reserving his right to request a hearing

at a later date should his circumstances change. The defendant and his attorney executed

a Waiver of Detention Hearing.

              Accordingly, the defendant is committed to the custody of the Attorney

General or his/her designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons awaiting or serving sentences or being



Case 3:10-cr-00084-PLR-DCP        Document 54 Filed 06/25/10         Page 1 of 2     PageID
                                        #: 113
held in custody pending appeal. The defendant shall be afforded a reasonable opportunity

for private consultation with defense counsel. On order of a court of the United States or

on request of an attorney for the government, the person in charge of the corrections

facility shall deliver the defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.



              IT IS SO ORDERED.



                                           s/ C. Clifford Shirley, Jr.
                                          C. Clifford Shirley, Jr.
                                          UNITED STATES MAGISTRATE JUDGE




Case 3:10-cr-00084-PLR-DCP        Document 54 Filed 06/25/10          Page 2 of 2    PageID
                                        #: 114
